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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


United States of America,                                 Crim No.007-278(9) (PAM/AJB)

                             Plaintiff,
v.                                                                                     ORDER


Alvin Bernell Moore,

                             Defendant.


       This matter is before the Court on Defendant’s request that the Court amend his

sentence to specify that his federal sentence is to run concurrently with his subsequently

imposed state sentence.     The Government has no objection to Defendant’s request.

Defendant also asks the Court to ensure that the Bureau of Prisons gives him credit for the

time he has served in state custody. Such credit is a matter of Bureau of Prisons’ policy and

the Court has no jurisdiction over it.

       Accordingly, IT IS HEREBY ORDERED that Defendant’s sentencing judgment is

AMENDED to provide that his federal sentence shall run concurrently to any state sentence.



Dated: Monday, November 2, 2009

                                                  s/ Paul A. Magnuson
                                                  Paul A. Magnuson
                                                  United States District Court Judge
